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                                                              MOSER LAW FIRM, PC
 Steven J. Moser
 Tel: 631-824-0200
 steven.moser@moserlawfirm.com
                                                      August 21, 2023

 VIA ECF

 Hon. Joan M. Azrack, USDJ
 United States District Court, Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722

        Re:     D'Aguino v Garda CL Atlantic, Inc, Case No. 16-CV-00641 (JMA)(SIL)

 Dear Judge Azrack:

        The most recent so-ordered briefing schedule states that Plaintiffs’ Motion to vacate and
 remand was to be served on June 15, 2023 and opposed by the Defendant no later than July 15,
 2023. See ECF No. 131. The motion was timely served on June 15, 2023.

         On June 30, 2023, the Defendant wrote a letter to the Court seeking a conference to discuss
 unspecified “procedural issues.” See ECF No. 132. The letter did not give notice of the purpose
 of the conference or the legal grounds for requesting the relief sought. The letter sought a stay of
 the briefing pending the conference sine die, but did not state any legal grounds for seeking relief
 from the briefing schedule. Id.

        The briefing schedule has not been modified or stayed, and the motion to vacate and
 remand has not been opposed. Garda has now taken the position that by virtue of its motion for a
 conference to discuss unspecified “procedural issues” (which has not been granted) it need not
 oppose Plaintiffs motion to vacate and remand. In other words, Garda is operating under the
 assumption that the Court will automatically grant its motion for a conference to discuss
 “procedural issues”, and that the motion for a conference therefore acts as an automatic stay.

        Garda insisted upon jurisdictional discovery as necessary to its opposition to the motion to
 vacate and remand. Exhaustive jurisdictional discovery was completed. The motion to vacate and
 remand was served. It is undisputed that complete diversity did not exist when the state action
 was commenced.

        Therefore, we respectfully request that the motion (to be filed as ECF No. 134), be granted
 without opposition.

                                                      Respectfully submitted,
                                                      Steven J. Moser
                                                      Steven J. Moser




                        133C New York avenue., Huntington, NY 11743
                              www.moseremploymentlaw.com
